

People ex rel. Belcastro v Toulon (2024 NY Slip Op 02270)





People ex rel. Belcastro v Toulon


2024 NY Slip Op 02270


Decided on April 29, 2024


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 29, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
CHERYL E. CHAMBERS
LARA J. GENOVESI
LOURDES M. VENTURA, JJ.


2024-02932

[*1]The People of the State of New York, ex rel. Luigi A. Belcastro, on behalf of Edgar E. Tenecela, petitioner,
vErrol D. Toulon, Jr., etc., et al., respondents.


Law Offices of McGuire, Pelaez, Bennett &amp; Belcastro, P.C., Central Islip, NY (Luigi A. Belcastro pro se of counsel), for petitioner.
Raymond A. Tierney, District Attorney, Riverhead, NY (Kim Marie Carson and Marion Tang of counsel), for respondents.
Writ of habeas corpus in the nature of an application to release Edgar E. Tenecela upon his own recognizance or, in the alternative, to set reasonable bail upon Suffolk County Indictment No. 70879/2024.



ADJUDGED that the writ is sustained, without costs or disbursements, to the extent that bail upon Suffolk County Indictment No. 70879/2024 is set in the sum of $300,000 posted in the form of an insurance company bail bond, the sum of $1,500,000 posted in the form of a partially secured bond, with the requirement of 10% down, or the sum of $150,000 deposited as a cash bail alternative, on condition that, in addition to posting a bond or depositing the cash alternative set forth above, Edgar E. Tenecela shall (1) wear an electronic monitoring bracelet, with monitoring services to be provided by a qualified entity pursuant to CPL 510.40(4)(c), and any violations of the conditions set forth herein relating to the electronic monitoring shall be reported by the electronic monitoring service provider to the Office of the District Attorney of Suffolk County, and further proceedings pursuant to CPL 510.40(4)(d), if any, shall be conducted in the criminal court in Suffolk County; (2) remain confined to his residence, except for visits to his place of employment, his attorney, his doctors, or court, and must travel directly from his residence to his place of employment, his attorney, his doctors, or court, and directly back to his residence, when conducting those visits; (3) surrender all passports, if any, he may have to the Office of the District Attorney of Suffolk County, or, if he does not possess a passport, he shall provide to the Office of the District Attorney of Suffolk County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Suffolk County, in which he attests that he does not possess a passport, and shall not apply for any new or replacement passports; and (4) provide to the Office of the District Attorney of Suffolk County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Suffolk County, in which he attests that if he leaves the jurisdiction he agrees to waive the right to oppose extradition from any foreign jurisdiction; and it is further,
ORDERED that upon receipt of a copy of this decision, order and judgment together with proof that Edgar E. Tenecela (1) has given an insurance company bail bond in the sum of $300,000, has given a partially secured bond in the sum of $1,500,000, with the requirement of 10% down, or has deposited the sum of $150,000 as a cash bail alternative; (2) has arranged for electronic monitoring with a qualified entity pursuant to CPL 510.40(4)(c); (3) has surrendered all passports, if any, he may have to the Office of the District Attorney of Suffolk County, or, if he does not [*2]possess a passport, has provided to the Office of the District Attorney of Suffolk County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Suffolk County, in which he attests that he does not possess a passport, and shall not apply for any new or replacement passports; and (4) has provided to the Office of the District Attorney of Suffolk County an affidavit or affirmation, in a form approved by the Office of the District Attorney of Suffolk County, in which he attests that if he leaves the jurisdiction he agrees to waive the right to oppose extradition from any foreign jurisdiction, the Warden of the facility at which Edgar E. Tenecela is incarcerated, or his or her agent, is directed to immediately release Edgar E. Tenecela from incarceration.
DILLON, J.P., CHAMBERS, GENOVESI and VENTURA, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








